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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

CATHERINE KONYHA,                              2:21-CV-10881-TGB

                 Plaintiff,

                                            ORDER OF DISMISSAL
     vs.

GLOBAL TRUST MANAGEMENT                  HONORABLE TERRENCE G.
LLC,                                            BERG

                 Defendant.



     The Court was notified that the parties had reached a resolution

in this matter. Therefore, the case will be dismissed.

     Accordingly, it is ORDERED that the Complaint is DISMISSED

WITH PREJUDICE. The Court retains jurisdiction over this matter

to enforce the terms of the settlement agreement. See, e.g., Moore v.

United States Postal Serv., 369 Fed. App’x 712 (6th Cir. 2010).

     DATED this 13th day of October, 2021.

                                  BY THE COURT:


                                  /s/Terrence G. Berg
                                  TERRENCE G. BERG
                                  United States District Judge
